Case 0:20-cv-61007-AHS Document 216 Entered on FLSD Docket 03/28/2024 Page 1 of 2
    USCA11 Case: 23-13612 Document: 40 Date Filed: 03/27/2024 Page: 1 of 2


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           March 27, 2024
                                                                                                      AP
   Clerk - Southern District of Florida
   U.S. District Court                                                               Mar 27, 2024
   400 N MIAMI AVE
   MIAMI, FL 33128-1810
                                                                                                          MIAMI
   Appeal Number: 23-13612-GG
   Case Style: South Broward Hospital District v. Elap Services, LLC, et al
   District Court Docket No: 0:20-cv-61007-AHS

   The enclosed copy of the Clerk's Order of Dismissal pursuant to the joint stipulation of the
   parties to dismiss is issued as the mandate of this court.

   Clerk's Office Phone Numbers
   General Information: 404-335-6100          Attorney Admissions:         404-335-6122
   Case Administration: 404-335-6135          Capital Cases:               404-335-6200
   CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




   Enclosure(s)




                                                             DIS-3 Letter and Entry of Dismissal Vol
Case 0:20-cv-61007-AHS Document 216 Entered on FLSD Docket 03/28/2024 Page 2 of 2
    USCA11 Case: 23-13612 Document: 40 Date Filed: 03/27/2024 Page: 2 of 2




                        IN THE UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT

                                          ______________

                                          No. 23-13612-GG
                                          ______________

   SOUTH BROWARD HOSPITAL DISTRICT,

                                                     Plaintiff - Appellant,

   versus

   ELAP SERVICES, LLC,
   a Pennsylvania limited liability company,
   GROUP & PENSION ADMINISTRATORS, INC.,
   a Texas corporation,

                                              Defendants - Appellees.
                        __________________________________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                        __________________________________________

   ORDER: The motion to voluntarily dismiss appeal is GRANTED by clerk. Pursuant to FRAP
   42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly entered dismissed on this
   date.

   Effective March 27, 2024.

                                          DAVID J. SMITH
                               Clerk of Court of the United States Court
                                  of Appeals for the Eleventh Circuit

                                                            FOR THE COURT - BY DIRECTION
